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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 21-cr-455
                                              :
REED CHRISTENSEN                              :
                                              :
                       Defendant.             :


 MOTION FOR LEAVE TO FILE SUPPLEMENTAL MEMORANDUM IN SUPPORT
OF THE MARCH 7, 2023, JOINT MOTION TO CONTINUE AND TO EXCLUDE TIME
                     UNDER THE SPEEDY TRIAL ACT

       NOW INTO COURT comes the United States of America, through the undersigned

Assistant United States Attorney, and moves for leave to file a supplemental memorandum in

support of the March 7, 2023, joint motion to continue and exclude time under the Speedy Trial

Act. The United States respectfully submits that filing this pleading is necessary because the

government has learned of an additional reason necessitating a continuance of the May 2023 trial

since the filing of the March 7, 2023, joint motion was filed.

                                              Respectfully submitted,

                                              Matthew M. Graves
                                              United States Attorney
                                              DC Bar No. 481052

                                      By:     /s/ Brittany L. Reed
                                              BRITTANY L. REED
                                              Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on April 4, 2023, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system which will send a notice of electronic filing to all defense
counsel of record.


                                                      /s/ Brittany L. Reed
                                                      BRITTANY L. REED
                                                      Assistant United States Attorney




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